 Case 1:17-cv-00011-JAP-LF Document 1-1 Filed 01/06/17 Page 1 of 10                           FILED IN
                                                                        4th JUDICIAL DISTRICT COURT
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STATE OF NEW MEXICO
SAN MIGUEL COUNTY
FOURTH JUDICIAL DISTRICT


MARC GRANO, As Wrongful Death
Personal Representative of the Estate of
FRANCISCA MARMOLEJO, Deceased

         Plaintiff,
                                                                  D-412-CV-2016-00573
VS.                                                     No.
                                                               Sandoval, Matthew J.
PINNACLE HEALTH FACILITIES XXXIII, LP
d/b/a SAGECREST NURSING AND
REHABILITATION CENTER

         Defendant.


  COMPLAINT FOR NURSING HOME NEGLIGENCE. WRONGFUL DEATH
                   AND PUNITIVE DAMAGES

         COMES NOW Plaintiff, MARC GRANO, As Wrongful Death Personal

Representative for the Estate of FRANCISCA MARMOLEJO, Deceased, by and through

their attorneys, and for their Complaint against Defendant PINNACLE HEALTH

FACILITIES XXXIII, LP d/b/a SAGECREST NURSING AND REHABILITATION

CENTER and states as follows:

                        PARTIES. JURISDICTION AND VENUE

1. MARC GRANO has been appointed Personal Representative for the Estate of

      FRANCISCA MARMOLEJO, Deceased for purposes of prosecuting this action

      under the New Mexico Wrongful Death Act. A copy of the Order appointing him is

      attached as Exhibit 1.

2. MARC GRANO is a resident of San Miguel County and venue is appropriate in this

      Court.




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3. Defendant PINNACLE HEALTH FACILITIES XXXIII, LP d/b/a SAGECREST

    NURSING AND REHABILITATION CENTER is a foreign limited partnership

    conducting business in the State of New Mexico. Defendant is doing business as the

    Owner/Operator of Sagecrest Nursing and Rehabilitation Center and may be served

    with process by serving its registered agent, National Registered Agents. Inc.. 206

    South Coronado Avenue. Espanola. NM 87532-2792.

4. This Court has personal jurisdiction over this cause because the Defendant conducts

    business within the State of New Mexico and has sufficient contacts to warrant the

    exercise of Jurisdiction in New Mexico.

5. All conditions precedent to filing suit have occurred.

                              FACTUAL ALLEGATIONS

6. FRANCISCA MARMOLEJO was a resident of Defendant PINNACLE HEALTH

   FACILITIES XXXIII, LP d/b/a SAGECREST NURSING AND REHABILITATION

   CENTER. At all relevant times herein, SAGECREST NURSING AND

   REHABILITATION CENTER was a facility owned and/or operated by PINNACLE

   HEALTH FACILITIES XXXIII, LP.

7. As a direct and proximate result of the negligent care and treatment of FRANCISCA

   MARMOLEJO at PINNACLE HEALTH FACILITIES XXXIII, LP d/b/a

   SAGECREST NURSING AND REHABILITATION CENTER, FRANCISCA

   MARMOLEJO died on June 4, 2014.

                            COUNT I
       NEGLIGENCE, WRONGFUL DEATH AND PUNITIVE DAMAGES

8. Plaintiff realleges the allegations contained in the previous paragraphs.




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9. During the course of FRANCISCA MARMOLEJO's residence at SAGECREST

   NURSING AND REHABILITATION CENTER, and while she was under the

   medical and/or nursing care and treatment of the agents, servants, representatives,

   and/or employees of Defendant herein, said agents, servants, representatives and/or

   employees committed certain acts and/or omissions which constituted negligence in

   the care and treatment of FRANCISCA MARMOLEJO.

10. At the time of her residency, PINNACLE HEALTH FACILITIES XXXII!, LP d/b/a

   SAGECREST NURSING AND REHABILITATION CENTER owed a duty to

   provide care and services to FRANCISCA MARMOLEJO.

11. Defendant owed a duty to provide care and services to FRANCISCA MARMOLEJO,

   including possessing and applying the knowledge and using the skills and care

   ordinarily used by reasonably well-qualified nursing facilities acting under similar

   circumstances.

12. As a direct and proximate result of the negligent care and treatment by Defendant,

   their agents, servants, representatives and/or employees, FRANCISCA

   MARMOLEJO suffered injuries, including but not limited to falls, severe physical

   pain, suffering, mental anguish, hip fracture and death.

13. The negligence of the Defendant PINNACLE HEALTH FACILITIES MOCIII, LP

   d/I:t/a SAGECREST NURSING AND REHABILITATION CENTER, acting by and

   through its agents, servants, representatives, and/or employees, include, but are not

   limited to the following:

          i. failure to properly monitor, observe, and assess the Plaintiff,

              FRANCISCA MARMOLEJO;



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           ii. failure to hire and train appropriate personnel to monitor, supervise, and/or

               treat Plaintiff, FRANCISCA MARMOLEJO;

           iii. Failure to provide sufficient numbers of staff to meet Plaintiff's

               fundamental care needs;

           iv. failure to provide a safe living environment to Plaintiff, FRANCISCA

               MARMOLEJO;

           v. failure to hire and train appropriate personnel to monitor, supervise, and/or

               maintain a safe living environment for Plaintiff; FRANCISCA

               MARMOLEJO;

           vi. failure to recognize significant environmental factors which posed a fall

               risk to Plaintiff, FRANCISCA MARMOLEJO, and to respond to the

               same;

           vii. failure to hire and train appropriate personnel to recognize, prevent and/or

               remedy situations which create an unreasonable risk of falling to Plaintiff,

               FRANCISCA MARMOLEJO;

           viii.       failure to properly and timely treat the Plaintiff FRANCISCA

               MARMOLEJO;

           ix. failure to timely recognize significant changes in the condition of Plaintiff

               FRANCISCA MARMOLEJO, and respond to the same.

14. One or more of the aforementioned acts constitute negligence and was a cause of the

   injuries and death of FRANCISCA MARMOLEJO, and the damages suffered by

   Plaintiff herein.




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15. The actions of Defendant were malicious, willful, reckless and/or done with wanton

   disregard for FRANCISCA MARMOLEJO, giving rise to punitive damages against

    Defendant.

16. As a direct and proximate result of PINNACLE HEALTH FACILITIES XXXII], LP

   d/b/a SAGECREST NURSING AND REHABILITATION CENTER's wrongful acts

   or failures to act, Plaintiff, MARC GRANO, as the Wrongful Death Personal

    Representative for the estate of FRANCISCA MARMOLEJO, Deceased should

    recover compensation for the following:

       i. conscious pain and suffering damages suffered by FRANCISCA

           MARMOLEJO prior to her death;

       ii. loss of enjoyment of life;

       iii. reasonable and necessary medical expenses incurred on behalf of

           FRANCISCA MARMOLEJO;

       iv. funeral and burial expenses incurred on behalf of FRANCISCA

           MARMOLEJO;

       v. punitive damages; and

       vi. such further relief as this Court may deem appropriate.

17. The death of FRANCISCA MARMOLEJO was caused by the wrongful act, neglect

   or default of another, and Plaintiff is entitled, pursuant to §41-2-1 NMSA 1978, to

   recover damages against Defendant, the sum to be distributed according to the New

   Mexico Wrongful Death Act.

                                        COUNT II
                                    Respondeat Superior

18. Plaintiff realleges the allegations contained in the previous paragraphs.

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19. Plaintiff believes and alleges that at all times material herein, Defendant PINNACLE

   HEALTH FACILITIES XXXIII, LP d/b/a SAGECREST NURSING AND

   REHABILITATION CENTER acting by and through its agents, servants,

   representatives and/or employees, committed negligent and/or reckless omissions in

   the care and treatment of FRANCISCA MARMOLEJO which caused injury,

   damages and death to FRANCISCA MARMOLEJO and therefore, Defendant is

   liable to Plaintiff under the doctrine of respondeat superior for the negligent and/or

   reckless acts and/or omission of its agents, servants, representatives and/or

   employees.

20. As a direct and proximate result of the negligent and/or reckless acts and/or omissions

   of PINNACLE HEALTH FACILITIES XXXIII, LP d/b/a SAGECREST NURSING

   AND REHABILITATION CENTER, acting by and through its agents, servants,

   representatives and/or employees, FRANCISCA MARMOLEJO suffered injuries

   including but not limited to falls, severe physical pain, suffering, mental anguish, hip

   fracture and death.

21. As a direct and proximate result of Defendant and its agents, servants,

   representatives and/or employees' wrongful acts and/or failures to act, Plaintiff,

   MARC GRANO, as the Wrongful Death Personal Representative for the Estate of

   FRANCISCA MARMOLEJO, Deceased, should recover compensation for the

   following:

       a. Conscious physical and mental pain and suffering, emotional distress,

           impairment and death;

       b. Reasonable and necessary medical, hospital and funeral expenses; and



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       c. The aggravating circumstances attending the wrongful act, neglect or default.

WHEREFORE, Plaintiff prays for relief as follows:

      i.      For a trial by jury.

      ii.     That Plaintiff, MARC GRANO, as the Wrongful Death Personal

              Representative for the Estate of FRANCISCA MARMOLEJO, Deceased

              recover a judgment for compensatory damages, including conscious pain

              and suffering and emotional distress suffered by FRANCISCA

              MARMOLEJO prior to her death.

              That Plaintiff, MARC GRANO, as the Wrongful Death Personal

              Representative for the Estate of FRANCISCA MARMOLEJO, Deceased

              recover for the value of FRANCISCA MARMOLEJO's life apart from its

              earning capacity.

      iv.    That Plaintiff, MARC GRANO, as the Wrongful Death Personal

              Representative for the Estate of FRANCISCA MARMOLEJO, Deceased

             recover reasonable and necessary medical and hospital expenses incurred

             on behalf of FRANCISCA MARMOLEJO.

      v.     That Plaintiff, MARC GRANO, as the Wrongful Death Personal

             Representative for the Estate of FRANCISCA MARMOLEJO, Deceased

             recover funeral and burial expenses incurred on behalf of FRANCISCA

             MARMOLEJO.

      vi.    That Plaintiff, MARC GRANO, as the Wrongful Death Personal

             Representative for the Estate of FRANCISCA MARMOLEJO, Deceased




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            recover a judgment for the aggravating circumstances attending the

            wrongful act, neglect or default.

    vii.    That Plaintiff, MARC GRANO, as the Wrongful Death Personal

            Representative for the Estate of FRANCISCA MARMOLEJO, Deceased

            recover a judgment for all compensatory damages allowable under New

            Mexico law.

    viii.   That Plaintiff, MARC GRANO, as the Wrongful Death Personal

            Representative for the Estate of FRANCISCA MARMOLEJO, Deceased

            recover prejudgment and post-judgment interest as allowed by NMSA

            1978, section 56-8-4 (1993).

    ix.     That Plaintiff recovers punitive damages.

    x.      That Plaintiff recovers such other and further relief to which he may be

            entitled under New Mexico law.

                                           Respectfully submitted,

                                           TOM RHODES LAW FIRM P.C.

                                           By:    /s/ Laura Pazin Porter
                                                  LAURA PAZIN PORTER
                                                  126•Villila Street
                                                  San Antonio, Texas 78205
                                                  (210) 225-5251
                                                  (210) 225-6545 (Facsimile)

                                                  ATTORNEY FOR PLAINTIFF




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STATE OF NEW MEXICO
SAN MIGUEL COUNTY
FOURTH JUDICIAL DISTRICT COURT

                                                                  No. D-412-dV-2015-00383

IN THE MATTER OF THE ESTATE OF
FRANCISCA MARMOLEJO, DECEASED.




                      ORDER APPOINTING MARC GRANO
              AS WRONGFUL DEATH PERSONAL REPRESENTATIVE
            OF THE ESTATE OF FRANCISCA MARMOLEJO. DECEASED

       THIS COURT, having been advised of the circumstances by the Petition for the

Appointment of a Personal Representative under the Wrongful Death Act NMSA 1978, Section

41-2-3, and finding the appointment of a personal representative under the Wrongful Death Act

appropriate, appoints MARC GRANO, Esq. as personal representative for purposes of the

investigation and pursuit of any action pursuant to the Wrongful Death Act.

       IT IS SO ORDERED.




Respectfully Submitted:

TOM RHODES LAW FIRM, P.C.

By /s/ Laura Pazin Porter_
LAURA PAZIN PORTER
126 Villita Street
San Antonio, Texas 78205
(210) 225-5251 (Tel.)
(210) 225-6545 (Facsimile)
ATTORNEYS FOR PETITIONER




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                     CERTIFCATE OF SERVICE/E-FILING


I certify that on this (291Aiday of September 2015, a copy of the foregoing Order was
c-filed anti/or mailed to parties listed below:

Laura Porter, loorter@tomrhodeslaw.com




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